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                                                       8
                                                           Attorneys for HASelect-Medical Receivables
                                                       9   Litigation Finance Fund International SP
                                                      10                                 UNITED STATES BANKRUPTCY COURT
                                                      11                                              DISTRICT OF NEVADA
              1731 Village Center Circle, Suite 150




                                                      12   In re:
                                                                                                                              Case No. 21-14486-abl
                   Las Vegas, Nevada 89134
SHEA LARSEN




                                                      13            INFINITY CAPITAL MANAGEMENT,                              Chapter 7
                        (702) 471-7432




                                                           INC.
                                                      14
                                                                                      Debtor.
                                                      15

                                                      16          EX PARTE MOTION FOR AN ORDER DIRECTING EXAMINATION PURSUANT
                                                                              TO FED. R. BANKR. P. 2004 OF KEVIN GRIMES
                                                      17

                                                      18            HASelect-Medical Receivables Litigation Finance Fund International SP (“HASelect”), by

                                                      19   and through its undersigned counsel, respectfully moves this Court, pursuant Rule 2004 of the

                                                      20   Federal Rules of Bankruptcy Procedure and Rule 2004 of the Local Rules of Bankruptcy Practice

                                                      21   and Procedure of the United States Bankruptcy Court for the District of Nevada, 1 for the entry of an

                                                      22   order directing Kevin Grimes (“Mr. Grimes”), to appear for an examination on no less than fourteen

                                                      23   (14) days’ notice regarding, among other things, (i) HASelect’s Collateral (defined below), (ii) the

                                                      24   location of copies of Debtor’s records, including, but not limited to, electronically stored records,

                                                      25   and (iii) communications between Mr. Grimes and any principal or agent for or acting on behalf of

                                                      26
                                                           1
                                                            Unless otherwise stated, all “Chapter” and “Section” references are to Title 11 of the U.S. Code (the “Bankruptcy
                                                      27   Code”), all “Bankruptcy Rule” references are to the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”),
                                                           and all references to “Local Rules” are to the Local Rules of Bankruptcy Practice for the U.S. District Court for the
                                                      28   District of Nevada (the “Local Rules”).


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                                                       1
                                                           Debtor Infinity Capital Management, Inc. (“Debtor”) regarding Debtor’s records and the above-
                                                       2
                                                           referenced bankruptcy proceeding. In support of this motion (the “Motion”), HASelect respectfully
                                                       3
                                                           states:
                                                       4
                                                                                             JURISDICTION AND VENUE
                                                       5
                                                                     1.   This Court has jurisdiction to consider this Motion pursuant to 28 U.S.C. §§ 157 and
                                                       6
                                                           1334. This matter is a core proceeding pursuant to 28 U.S.C. § 157(b). Venue is proper in this
                                                       7
                                                           district pursuant to 28 U.S.C. §§ 1408 and 1409.
                                                       8
                                                                     2.   The statutory predicates for the relief sought herein are Section 105, Bankruptcy Rule
                                                       9
                                                           2004, and Local Rule 2004.
                                                      10
                                                                                        CASE STATUS AND BACKGROUND
                                                      11
                                                                     3.   On September 14, 2021 (the “Petition Date”), the above-captioned debtor, Infinity,
              1731 Village Center Circle, Suite 150




                                                      12
                                                           filed chapter 7 Voluntary Petition (the “Petition”) under Chapter 7 of the United States Code (the
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                                                           “Bankruptcy Code”), commencing the above-captioned Chapter 7 case.
                                                      14
                                                                     4.   On July 22, 2021, HASelect filed a civil complaint in the United States District Court,
                                                      15
                                                           Northern District of Illinois, commencing Case No. 1:21-cv-03906 (the “Illinois Case”), asserting,
                                                      16
                                                           among other things, Infinity’s breach of a Second Amended & Restated Loan and Security Agreement
                                                      17
                                                           and Promissory Note (the “MLA”) evidencing a total loan from HASelect to Infinity in the amount of
                                                      18
                                                           $10,351,972.00 (the “Loan”), with fees and interest bringing the total amount due from Infinity to
                                                      19
                                                           HASelect up to $14,126,860.00 as of July 2021.
                                                      20
                                                                     5.   Pursuant to the MLA, Infinity granted HASelect a first-priority security interest in all
                                                      21
                                                           of Infinity’s assets (the “Collateral”), which includes but is not limited to, receivables purchased by
                                                      22
                                                           Infinity from medical providers that are the subject of or arose in relation to personal injury claims,
                                                      23
                                                           which Infinity used the Loan to purchase. The Collateral also includes all documents and books and
                                                      24
                                                           records of Debtor.
                                                      25
                                                                     6.   On information and belief, Mr. Grimes is (at all relevant times hereto) the IT Support
                                                      26
                                                           Specialist for Debtor and in charge of maintaining Debtor’s documents, books, and records.
                                                      27

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                                                       1
                                                                                                       ARGUMENT
                                                       2
                                                                  7.      An examination pursuant to Bankruptcy Rule 2004 “can be ordered ‘on motion of
                                                       3
                                                           any party in interest.’” In re Stasz, 387 B.R. 271, 273, n.3 (9th Cir. 2008); see also In re Lifeco Inv.
                                                       4
                                                           Group, Inc., 173 B.R. 478, 480 (Bankr. D. Del. 1994) (quoting Fed. R. Bankr. P. 2004(a)).
                                                       5
                                                           Bankruptcy Rule 2004 further provides that the Court may order the examination and the production
                                                       6
                                                           of documentary evidence concerning any matter that relates “to the liabilities and financial condition
                                                       7
                                                           of the debtor, or to any matter which may affect the administration of the debtor’s estate, or . . . any
                                                       8
                                                           matter relevant to the case or the formulation of a plan.” Fed. R. Bankr. P. 2004(b); In re Dinubilo,
                                                       9
                                                           177 B.R. 932, 935 (E.D. Cal. 1993) (noting “[u]nder Rule 2004, a court may order the examination
                                                      10
                                                           of any person or motion of any party in interest.”). Generally, the purpose of a Bankruptcy Rule
                                                      11
                                                           2004 examination is to “discover assets, examine transactions, and determine whether wrongdoing
              1731 Village Center Circle, Suite 150




                                                      12
                                                           has occurred.” In re North Plaza, LLC, 395 B.R. 113, 122 n.9 (S.D. Cal. 2008) (citing In re Rafsky,
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SHEA LARSEN




                                                      13
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                                                           300 B.R. 152, 153, n.2 (D. Conn. 2003)); see also In re Enron Corp., 281 B.R. 836, 840 (Bankr.
                                                      14
                                                           S.D.N.Y. 2002).
                                                      15
                                                                  8.      The scope of a Bankruptcy Rule 2004 examination is “unfettered and broad,” as the
                                                      16
                                                           plain language of the rule indicates. See 9 Collier on Bankruptcy ¶ 2004.02[1] at 2004-6 (15th ed.
                                                      17
                                                           Rev. 1997); In re Dinubilo, 177 B.R. 932, 939 (E.D. Cal. 1993) (quoting In re GHR Energy Corp.,
                                                      18
                                                           Inc., 33 B.R. 451, 453 (Bankr. D. Mass. 1983). The broad latitude of Bankruptcy Rule 2004
                                                      19
                                                           examinations furthers the purpose of the rule, which is “to allow the court to gain a clear picture of
                                                      20
                                                           the condition and the whereabouts of the bankrupt’s estate.” In re Int’l Fibercom, Inc., 283 B.R.
                                                      21
                                                           290, 292 (Bankr. D. Ariz. 2002) (permitted Bankruptcy Rule 2004 examination aimed at “obtaining
                                                      22
                                                           information that will . . . potentially uncover additional claims that may exist for the benefit of the
                                                      23
                                                           estate”); In re W&S Invs., 1993 U.S. App. LEXIS 2231, at *5 (9th Cir. 1993) (“Bankruptcy Rule
                                                      24
                                                           2004 is a broadly construed discovery device.”); In re French, 145 B.R. at 992 (“Bankruptcy Rule
                                                      25

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                                                       1
                                                           2004 . . . does not offer the procedural safeguards available under Rule 26 of the Federal Rules of
                                                       2
                                                           Civil Procedure.”).
                                                       3
                                                                  9.      The information that HASelect seeks through this Motion relate to matters that are
                                                       4
                                                           clearly within the permitted scope of Rule 2004, including, but not limited to, information related to
                                                       5
                                                           HASelect’s Collateral, Mr. Grimes’ communications with anyone at Debtor regarding the Collateral
                                                       6
                                                           (including, but not limited to, Debtor’s documents, books, and records and electronic storage relating
                                                       7
                                                           to the same), and Mr. Grimes’ actions with respect to maintaining Debtor’s documents, books, and
                                                       8
                                                           records.
                                                       9
                                                                  10.     Local Rule 2004(b) further provides, in part, “[t]he clerk may sign orders for
                                                      10
                                                           examination if the date set for examination is more than fourteen (14) days from the date the motion
                                                      11
                                                           is filed.” This Motion is being filed more than fourteen (14) prior to the date set for the examination.
              1731 Village Center Circle, Suite 150




                                                      12
                                                           Accordingly, the clerk is authorized to sign an order granting this Motion.
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SHEA LARSEN




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                                                                                                      CONCLUSION
                                                      14
                                                                  For the reasons stated above, HASelect respectfully requests that the Court enter an order
                                                      15
                                                           directing Mr. Grimes to appear for an examination pursuant to Bankruptcy Rule 2004 on no less
                                                      16
                                                           than fourteen (14) days’ notice. A proposed order is attached hereto as Exhibit 1.
                                                      17
                                                                  Dated this 7th day of January 2022.
                                                      18
                                                                                                                 SHEA LARSEN
                                                      19

                                                      20                                                         /s/ Bart K. Larsen, Esq.
                                                                                                                 James Patrick Shea, Esq.
                                                      21                                                         Nevada Bar No. 405
                                                                                                                 Bart K. Larsen, Esq.
                                                      22                                                         Nevada Bar No. 8538
                                                                                                                 Kyle M. Wyant, Esq.
                                                      23                                                         Nevada Bar No. 14652
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                                                      24                                                         Las Vegas, Nevada 89134
                                                      25                                                         Attorneys for HASelect-Medical Receivables
                                                                                                                 Litigation Finance Fund International SP
                                                      26

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                                                       1                                   CERTIFICATE OF SERVICE
                                                       2        1.    On January 7, 2022, I served the following document(s): EX PARTE MOTION
                                                       3              FOR AN ORDER DIRECTING EXAMINATION PURSUANT TO FED. R.
                                                                      BANKR. P. 2004 OF KEVIN GRIMES
                                                       4
                                                                2.    I served the above document(s) by the following means to the persons as listed
                                                       5              below:
                                                       6
                                                                      ց        a.       ECF System:
                                                       7
                                                                ROBERT E. ATKINSON
                                                       8        Robert@ch7.vegas, TrusteeECF@ch7.vegas;ecf.alert+atkinson@titlexi.com
                                                       9        CLARISSE L. CRISOSTOMO on behalf of Trustee ROBERT E. ATKINSON
                                                      10        clarisse@nv-lawfirm.com, bknotices@nv-lawfirm.com

                                                      11        BRADFORD IRELAN on behalf of Creditor HEALTHPLUS IMAGINING OF TEXAS,
                                                                LLC
              1731 Village Center Circle, Suite 150




                                                      12        birelan@imtexaslaw.com,
                   Las Vegas, Nevada 89134




                                                                jstephens@imtexaslaw.com;dhall@imtexaslaw.com;ynguyen@imtexaslaw.com
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                                                      13
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                                                      14        DAVID MINCIN on behalf of Creditor HEALTHPLUS IMAGINING OF TEXAS, LLC
                                                                dmincin@mincinlaw.com, cburke@mincinlaw.com
                                                      15
                                                                MICHAEL D. NAPOLI on behalf of Creditor TECUMSEH - INFINITY MEDICAL
                                                      16        RECEIVABLES FUND, LP
                                                                michael.napoli@akerman.com,
                                                      17
                                                                cindy.ferguson@akerman.com;catherine.kretzschmar@akerman.com;masterdocketlit@ake
                                                      18        rman.com

                                                      19        TRENT L. RICHARDS on behalf of Creditor THE INJURY SPECIALISTS
                                                                trichards@sagebrushlawyers.com
                                                      20
                                                                ARIEL E. STERN on behalf of Creditor TECUMSEH - INFINITY MEDICAL
                                                      21
                                                                RECEIVABLES FUND, LP
                                                      22        ariel.stern@akerman.com, akermanlas@akerman.com

                                                      23        U.S. TRUSTEE - LV - 7
                                                                USTPRegion17.LV.ECF@usdoj.gov
                                                      24
                                                                MATTHEW C. ZIRZOW on behalf of Debtor INFINITY CAPITAL MANAGEMENT,
                                                      25
                                                                INC.
                                                      26        mzirzow@lzlawnv.com,
                                                                carey@lzlawnv.com;trish@lzlawnv.com;jennifer@lzlawnv.com;zirzow.matthewc.r99681
                                                      27        @notify.bestcase.com
                                                      28
                                                                      տ        b.       United States mail, postage fully prepaid:


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                                                       1
                                                                      տ        c.       Personal Service:
                                                       2

                                                       3              I personally delivered the document(s) to the persons at these addresses:

                                                       4                              տ       For a party represented by an attorney, delivery was made by
                                                                      handing the document(s) at the attorney’s office with a clerk or other person in
                                                       5
                                                                      charge, or if no one is in charge by leaving the document(s) in a conspicuous place
                                                       6              in the office.

                                                       7                              տ       For a party, delivery was made by handling the document(s)
                                                                      to the party or by leaving the document(s) at the person’s dwelling house or usual
                                                       8              place of abode with someone of suitable age and discretion residing there.
                                                       9
                                                                      տ       d.      By direct email (as opposed to through the ECF System):
                                                      10              Based upon the written agreement of the parties to accept service by email or a
                                                                      court order, I caused the document(s) to be sent to the persons at the email
                                                      11              addresses listed below. I did not receive, within a reasonable time after the
              1731 Village Center Circle, Suite 150




                                                      12              transmission, any electronic message or other indication that the transmission was
                                                                      unsuccessful.
                   Las Vegas, Nevada 89134
SHEA LARSEN




                                                      13
                        (702) 471-7432




                                                                      տ        e.       By fax transmission:
                                                      14
                                                                      Based upon the written agreement of the parties to accept service by fax
                                                      15
                                                                      transmission or a court order, I faxed the document(s) to the persons at the fax
                                                      16              numbers listed below. No error was reported by the fax machine that I used. A copy
                                                                      of the record of the fax transmission is attached.
                                                      17
                                                                      տ        f.       By messenger:
                                                      18

                                                      19              I served the document(s) by placing them in an envelope or package addressed to
                                                                      the persons at the addresses listed below and providing them to a messenger for
                                                      20              service.
                                                      21              I declare under penalty of perjury that the foregoing is true and correct.
                                                      22
                                                                      Dated: January 7, 2022.
                                                      23                                                By: /s/ Bart K. Larsen, Esq,

                                                      24

                                                      25

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                    EXHIBIT 1
                                                      Case 21-14486-abl        Doc 169    Entered 01/07/22 09:06:37       Page 8 of 9



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                                                 13           kwyant@shea.law
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                                                 14   Attorneys for HASelect-Medical Receivables
                                                      Litigation Finance Fund International SP
                                                 15
                                                                                UNITED STATES BANKRUPTCY COURT
                                                 16
                                                                                         DISTRICT OF NEVADA
                                                 17
                                                      In re:
                                                 18                                                            Case No. 21-14486-abl
                                                               INFINITY CAPITAL MANAGEMENT,                    Chapter 7
                                                 19   INC.
                                                 20                          Debtor.
                                                 21
                                                                 ORDER GRANTING EX PARTE MOTION FOR AN ORDER DIRECTING
                                                 22                  EXAMINATION PURSUANT TO FED. R. BANKR. P. 2004 OF
                                                                                     KEVIN GRIMES
                                                 23
                                                               This Court having reviewed the Ex Parte Motion for Order Directing Examination Pursuant
                                                 24
                                                      to Fed. R. Bankr. P. 2004 of Kevin Grimes (the “Motion”) filed by HASelect-Medical Receivables
                                                 25
                                                      Litigation Finance Fund International SP (“HASelect”) and for good cause appearing:
                                                 26
                                                               IT IS HEREBY ORDERED that the Motion is GRANTED.
                                                 27
                                                               IT IS FURTHER ORDERED that Kevin Grimes, shall appear for an examination under oath
                                                 28

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                                                  1   before a certified court reporter at a time, place, and date to be mutually agreed upon by the parties,

                                                  2   or if no such agreement is reached, upon no less than fourteen (14) calendar days’ written notice by

                                                  3   HASelect, as to any matter permitted by Fed. R. Bankr. P. 2004, including but not limited to the

                                                  4   matters specifically enumerated in the Motion.

                                                  5
                                                             IT IS SO ORDERED.
                                                  6

                                                  7
                                                      Submitted by:
                                                  8
                                                      SHEA LARSEN
                                                  9

                                                 10
                                                      /s/ Bart K. Larsen, Esq.
                                                 11   James Patrick Shea, Esq.
                                                      Nevada Bar No. 405
         1731 Village Center Circle, Suite 150




                                                 12   Bart K. Larsen, Esq.
                                                      Nevada Bar No. 8538
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                                                      Attorneys for HASelect-Medical Receivables
                                                 16   Litigation Finance Fund International SP
                                                 17

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